           Case 1:19-cv-01304-VJW Document 6 Filed 02/28/20 Page 1 of 3




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                                        No. 19-1304C
                                  (Filed February 28, 2020)
                                  NOT FOR PUBLICATION

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WALTER L. ALLEN,                           *
                                           *
                     Plaintiff,            *
                                           *
      V.                                   *
                                           *
THE UNITED STATES,                         *
                                           *
                     Defendant.            *
                                  *
* * * * * * * * * * * * * * * * * *

                    MEMORANDUM OPINION AND ORDER

WOLSKI, Senior Judge.

        Plaintiff, Walter L. Allen, asserts a claim based on an apparently
unsatisfactory interaction with his local United States Postal Service (USPS) office.
The exact nature of this interaction is unclear, but it appears that a USPS employee
refused to accept letters for mailing. Mister Allen requests one hundred "million
zillion" dollars, and the termination of certain USPS employees who were involved
in this incident. The government has moved to dismiss the case for lack of subject-
matter jurisdiction under Rule 12(b)(l) of the Rules of the United States Court of
Federal Claims (RCFC). Plaintiff has not filed a response. For the reasons stated
below, the motion is GRANTED and the complaint is DISMISSED.

                                    I. BACKGROUND

       On August 27, 2019, Mr. Allen filed a complaint in this court prose,
complaining about his treatment at a USPS office in Brooklyn, New Yark. Compl.
at 1. Apparently, on January 2, 2019, a USPS employee declined to accept letters
for mailing, due to her inability to weigh them at that time because of a lack of
sufficient staffing. Id. Plaintiff argued with her and then took his mail to another
post office, where it was accepted. Id. He followed up with a complaint to the USPS
headquarters and received an apology for his treatment. Id. at 1-2. The USPS,
        Case 1:19-cv-01304-VJW Document 6 Filed 02/28/20 Page 2 of 3



however, declined to pay him the "900 zillion" dollars he sought in that complaint.
See Ex. 1 to Compl. He thus filed a complaint in this court, now seeking one
hundred "million zillion" dollars and the termination of the USPS employees
responsible for his displeasure. Compl. at 1. Defendant has moved to dismiss the
complaint, arguing that none of the allegations in the complaint state a claim
within our subject-matter jurisdiction. Def.'s Mot. to Dismiss. at 1 (citing, inter
alia, 28 U.S.C. § 149l(a)(l)). Plaintiff did not respond to the motion to dismiss.

                                  II. DISCUSSION

A. Standard of Review

       Under RCFC 12(b)(l), this court must dismiss claims that do not fall within
its subject-matter jurisdiction. When considering a motion to dismiss a case for lack
of subject-matter jurisdiction, courts will accept as true all factual allegations the
non-movant made and draw all reasonable inferences in the light most favorable to
that party. See Scheuer v. Rhodes, 416 U.S. 232, 236 (1974); Airport Rd. Assocs.,
Ltd. v. United States, 866 F.3d 1346, 1351 (Fed. Cir. 2017) (quoting Pixton v. B & B
Plastics, Inc., 291 F.3d 1324, 1326 (Fed. Cir. 2002)) (stating that on a motion to
dismiss a case for lack of subject-matter jurisdiction, a court must "view the alleged
facts in the complaint as true, and if the facts reveal any reasonable basis upon
which the non-movant may prevail, dismissal is inappropriate"); CBY Design
Builders v. United States, 105 Fed. Cl. 303, 325 (2012).

       While a prose plaintiff's filings are to be liberally construed, see Erickson v.
Pardus, 551 U.S. 89, 94 (2007), this lenient standard cannot spare from dismissal
claims which fall outside this court's jurisdiction. See, e.g., Henke v. United States,
60 F.3d 795, 799 (Fed. Cir. 1995). It is incumbent on the plaintiff to properly invoke
the court's jurisdiction by properly alleging a breach of contract by the federal
government or identifying a money-mandating law which was allegedly violated by
the government. See United States v. Mitchell, 463 U.S. 206, 216-17 (1983). A
plaintiff's prose status does not relieve him of the obligation to demonstrate
jurisdiction by a preponderance of the evidence. See McNutt v. Gen. Motors
Acceptance Corp. of Ind., 298 U.S. 178, 189 (1936) (explaining the plaintiff's
responsibility for showing that the claim falls within the court's jurisdiction);
Henke, 60 F.3d at 799 (noting that a plaintiff's status does not excuse defects in the
complaint); Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir.
1988) (stating that the burden of proof for establishing jurisdiction is by a
preponderance of the evidence).

B. Analysis

       The complaint fails to articulate any claim within this court's subject-matter
jurisdiction. It seems that, at most, one USPS office refused to accept some of Mr.
Allen's letters for mailing, which resulted in his mailing them less than thirty
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        Case 1:19-cv-01304-VJW Document 6 Filed 02/28/20 Page 3 of 3



minutes later at different office. Compl. at 1. The Court is not aware of any legal
theory that could support recovery under these facts. Plaintiff has failed to allege
either the existence of a contract with the United States or the violation of a money-
mandating provision of federal law, which are generally the requirements to
establish a claim within our jurisdiction. See 28 U.S.C. § 149l(a); Mitchell, 463
U.S. at 216-17. Plaintiff has not identified any contractual right, or federal law or
regulation, which would entitle him to money damages for the inconvenience of
having to take his mail to a second USPS office before it could be mailed.

        Although it is not clear, in the portion of his complaint relating to the relief
sought, plaintiff seems to suggest that he has filed a bid protest case. See Compl. at
3. Under 28 U.S.C. § 149l(b), our court is empowered to hear certain cases
objecting to the conduct of government procurements, such as claims that a
solicitation for offers is improper or that the government made an arbitrary or
unlawful contract award. See 28 U.S.C. § 149l(b). This includes cases involving
"any alleged violation of statute or regulation in connection with a procurement or a
proposed procurement." Id. While the scope of this jurisdiction may be very broad,
it is nonetheless limited to federal procurements, which means the federal
government's "process of acquiring property or services." Distributed Sols., Inc. v.
United States, 539 F.3d 1340, 1345 (Fed. Cir. 2008) (quoting what was then 41
U.S.C. § 403(2) and is now 41 U.S.C. § 111). As Mr. Allen's matter does not involve
an attempt by the government to obtain services, but rather his attempt to obtain
services from the government, it obviously cannot come within our bid protest
jurisdiction. Moreover, even as a bid protest, it would suffer from the defect placing
the case outside our general subject-matter jurisdiction---Mr. Allen's failure to
identify any statute or regulation that may have been violated in his unsatisfactory
encounter with the one USPS office.

                                 III. CONCLUSION

       For the reasons stated above, the government's motion to dismiss this case
for lack of subject-matter jurisdiction, under RCFC 12(b)(l), is GRANTED. The
Clerk shall close the case.

IT IS SO ORDERED.




                                          -3-
